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Case:17-03283-LTS Doc#:6174-1 Filed:04/10/19 Entered:04/10/19 16:08:31   Desc:
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Case:17-03283-LTS Doc#:6174-1 Filed:04/10/19 Entered:04/10/19 16:08:31   Desc:
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Case:17-03283-LTS Doc#:6174-1 Filed:04/10/19 Entered:04/10/19 16:08:31   Desc:
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Case:17-03283-LTS Doc#:6174-1 Filed:04/10/19 Entered:04/10/19 16:08:31   Desc:
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Case:17-03283-LTS Doc#:6174-1 Filed:04/10/19 Entered:04/10/19 16:08:31   Desc:
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Case:17-03283-LTS Doc#:6174-1 Filed:04/10/19 Entered:04/10/19 16:08:31   Desc:
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Case:17-03283-LTS Doc#:6174-1 Filed:04/10/19 Entered:04/10/19 16:08:31   Desc:
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Case:17-03283-LTS Doc#:6174-1 Filed:04/10/19 Entered:04/10/19 16:08:31   Desc:
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Case:17-03283-LTS Doc#:6174-1 Filed:04/10/19 Entered:04/10/19 16:08:31   Desc:
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Case:17-03283-LTS Doc#:6174-1 Filed:04/10/19 Entered:04/10/19 16:08:31   Desc:
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Case:17-03283-LTS Doc#:6174-1 Filed:04/10/19 Entered:04/10/19 16:08:31   Desc:
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Case:17-03283-LTS Doc#:6174-1 Filed:04/10/19 Entered:04/10/19 16:08:31   Desc:
                 Pro Se Notices of Participation Page 15 of 142
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Case:17-03283-LTS Doc#:6174-1 Filed:04/10/19 Entered:04/10/19 16:08:31   Desc:
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                 Pro Se Notices of Participation Page 21 of 142
Case:17-03283-LTS Doc#:6174-1 Filed:04/10/19 Entered:04/10/19 16:08:31   Desc:
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Case:17-03283-LTS Doc#:6174-1 Filed:04/10/19 Entered:04/10/19 16:08:31   Desc:
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Case:17-03283-LTS Doc#:6174-1 Filed:04/10/19 Entered:04/10/19 16:08:31   Desc:
                 Pro Se Notices of Participation Page 25 of 142
Case:17-03283-LTS Doc#:6174-1 Filed:04/10/19 Entered:04/10/19 16:08:31   Desc:
                 Pro Se Notices of Participation Page 26 of 142
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                 Pro Se Notices of Participation Page 28 of 142
Case:17-03283-LTS Doc#:6174-1 Filed:04/10/19 Entered:04/10/19 16:08:31   Desc:
                 Pro Se Notices of Participation Page 29 of 142
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                 Pro Se Notices of Participation Page 30 of 142
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Case:17-03283-LTS Doc#:6174-1 Filed:04/10/19 Entered:04/10/19 16:08:31   Desc:
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                 Pro Se Notices of Participation Page 41 of 142
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                 Pro Se Notices of Participation Page 45 of 142
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Case:17-03283-LTS Doc#:6174-1 Filed:04/10/19 Entered:04/10/19 16:08:31   Desc:
                 Pro Se Notices of Participation Page 51 of 142
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                 Pro Se Notices of Participation Page 65 of 142
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                 Pro Se Notices of Participation Page 69 of 142
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                 Pro Se Notices of Participation Page 70 of 142
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Case:17-03283-LTS Doc#:6174-1 Filed:04/10/19 Entered:04/10/19 16:08:31                                  Desc:
SRF 30944       Pro Se Notices of Participation Page 128 of 142
*THIS NOTICE MUST BE FILED AND SERVED ON OR BEFORE APRIL 16, 2019*


                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF PUERTO RICO



In re:


THE FINANCIAL OVERSIGHT AND                                         PROMESA                     r.



MANAGEMENT BOARD FOR PUERTO RICO,                                   Title III                             •-.n




                 as representative of                               Case No. 17-BK-3283 (LTS) -o

THE COMMONWEALTH OF PUERTO RICO et ai,                              (Jointly Administered t

                 Debtors.
                                                            •X


                    NOTICE OF PARTICIPATION IN OMNIBUS OBJECTION
                 TO CLAIMS FILED OR ASSERTED BY HOLDERS OF CERTAIN
                     COMMONWEALTH GENERAL OBLIGATION BONDS

       This Notice of Participation must be served and filed no later than April 16,2019 in
accordance with the instructions set forth at the end of this document.

        The party identified below ( Participant") hereby advises the Objectors that it intends 10
participate m the litigation of the Omnibus Objection of the Financial Oversight and Management Boar^,
Acting Through its Special Claims Committee, and the Official Committee ofUnsecured Creditors,
Pursuant to Bcmhmptcy Code Section 502 and Bankruptcy Rule 3007, to Claims Filed or Asserted by
Holders of Certain Commonwealth General Obligation Bonds, dated January 14, 2019 [Docket No. 4784]
(the Objection"), which asserts that all claims that have been or may be asserted against the
Commonwealth of Puerto Rico on account of general obligation bonds issued by the Commonwealth in or
after 2012 (the "Challeneed GO Bonds") arc invalid.

       To ensure full participation rights in the litigation of the Objection, Participant provides all of the
information requested in items 1 through 3 below:

1. Participant s contact information, including email address, and that of its counsel, ir any;

Participant Name and Contact Information Counsel Coutact Information Of any)


^yif^T)^ L\{^D ~T^c\\5
Participant NameL / (J Finn Name (if applicable)


Contact Person (if Participant is not an individual) Contact Persoia

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Email Address 'J Email Address
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SRF 30944       Pro Se Notices of Participation Page 129 of 142


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country                              Country


2. Participant advises that it (choose one of the following by marking X" in the appropriate space;.

                    intends to support the relief requested in the Objection (i.e.. Participant
            believes the Court should find that the Challenged GO Bonds are invalid'): or

               ^__intends to oppose the relief requested in the Objection (i.e.. Participant
            believes that the Court should find that the Challenged GO Bonds are valid)

3. If Participant is not a holder of a Challenged GO Bond, it can skip to the end of this Notice and
         ^^n. If Participant is a holder of one or more Challenged GO Bonds, Participant must respond to
        the following paragraphs (a) and (b) to the best of Participant's knowledge.

            (a) Provide the CUSIP Numbers of all Challenged GO Bonds held by Participant:
                     ^Z^\^\ mi\L^
                      '^i^Lfi^
            (b) Did Participant purchase any^xfjts Challenged GO Bonds in whole or in part on the
                    secondary market? YES or(^(^(please circle one).




                                 T
By: ^


                L</? "fr4^


    Title (if Participant is not an Individual)

        Q^O.^Ulcf
    Date
      ite

Instructions for Serving and Filing Notice of Participation: This Notice of Participation must be (i)
served by email on the Notice Parties set forth in paragraph 8 of the Objection Procedures and (ii) filed
electronically with the District Court pursuant to its Electronic Case Filing procedures. If the
Participant is not represented by counsel, the Participant may file a paper copy of this Notice of
Participation with the District Court by delivering such Notice of Participation by mail or by hand
addressed to: The Clerk of the United States District Court for the District of Puerto, Room 150
Federal Building, 150 Carlos Chardon Avenue, San Juan, PR 00918-1767.
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  Case:17-03283-LTS Doc#:5143-3 Filed:02/15/19 Entered:02/15/1914:28:10 Desc:
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                            3- Notice             PagePaae
                                      of Participation 131 2ofof142
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  ATHIS NOTICE MUST BE FILED AND SERVEt) ON OR BEFORE [INSERT DATE
  THAT IS 60 DAYS AFTER ENTRY OF ORDER GRANTING PROCEDURES MOTION]

                                   UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF PUERTO RICO ^ -

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  In re:                                                                                                   GO


  THE FINANCIAL OVERSIGHT AND                                          PROMESA L-:;, ^
  MANAGEMENT BOARD FOR PUERTO RICO,                                    Title HI - -'^.- ^
                                                                                                            ;^^

                   as representative of                                Case No. 17-BK-3283 (LTS) ~~


  THE COMMONWEALTH OF PUERTO RICO et al.,                              (Jointly Administered)

                   Debtors.
                                                               -X


                      NOTICE OF PARTICIPATION IN OMNIBUS OBJECTION
                   TO CLAIMS FILED OR ASSERTED BY HOLDERS OF CERTAIN
                       COMMONWEALTH GENERAL OBLIGATION BONDS

          This Notice of Participation must be served and filed no later than [insert date that is 60
  days after entry of order granting Procedures Motion] in accordance with the instructions set forth
  at the end of this document.


          The party identified below ("'Participant") hereby advises the Objectors that it intends to
  participate in the lidgation of the Omnibus Objection of the Financial 0^'ersight and Management Board,
  Actmg Through its Special Claims Committee, and the Official Committee ofUnsecured Creditors,
  Pursuant to Bankruptcy Code Section 502 and Bankruptcy Rule 3007, to Claims Filed or Asserted by
  Holders of Certain Commonwealth General Obligation Bonds, dated January 14, 2019 [Docket No. 4784]
  (the "Objection"'), which asserts that all claims that have been or may be asserted against fhe
  Commonwealth of Puerto Rico on account of general obligation bonds issued by the Commonwealth in or
  after 2012 (the "Challenged GO Bonds") are invalid.

          To ensure full participation rights in the litigation of the Objection, Participant provides all of the
  information requested in items 1 through 3 below:

  1. Participant's contact information, mcluding email address, and that of its counsel, if any:


  Participant Name and Contact Information Counsel Contact Information (if any)

   AL/^J e>. [^P^QW^
  Participant Name_ Firm Nam6 (if ap^licfcfcle)
      _L-I:?A C^s-rues L^^^/^,Lu^s
  Contact Person (if Participant is not an individual) Contact Perso-t
   Lt-^ (^ Go^W-e^a^ c0^ U2Aj2_rlfl^^V^'J • c-AyvN
  Email Address Email Address
Case:17-03283-LTS Doc#:6174-1 Filed:04/10/19 Entered:04/10/19 16:08:31 Desc:
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                                                Page 132 of:02/15/1914:28:10
                                                             142             Desc:
                              .E)<hibit 3- Notice of Participation _Page 3 of 3
   * THIS NOTICE REQUIRES ACTION ON OR 6EFORE [INSERT DATE THAT IS 60
   DAYS FROM DATE OF ENTt<Y OF ORDER GRANTING PROCEDURES MOTION]ft
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   Address line 2 Address line 2

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   City, State Ziptode City, State Zifr)Code

    ,L).s^ Country
   Country
           _ -(^^-
   2. Participant advises that it (choose one of the following by marking "X" in the appropriate space):

                         intends to support the relief requested in the Objection (i.e., Participant
               believes the Court should find that the Challenged GO Bonds are invalid); or

                  ^__mtends to oppose the relief requested in the Objection (i.e.. Participant
               believes that the Court should find that the Challenged GO Bonds are valid^

   3. If Participant is not a holder of a Challenged GO Bond, it can skip to the end of this Notice and
           sign. If Participant is a holder of one or more Challenged GO Bonds, Participant must respond to
           the following paragraphs (a) and (b) to the best of Participant s knowledge.

               (a) Provide the CUSIP Numbers of all Challenged GO Bonds held by Participant:
                       -]4-s1^-t^

               (b) Did Participant purchase any^its Challenged GO Bonds in whole or in part on the
                      secondary market? YES or ^O^please circle one).




      Print Name

      ^ww'^-^-±^-d 1^^^-

              ^4_
       Title (if Participant is not an Individual)


       Date

  Instructions for Serving and Filing Notice of Participation: This Notice of Participation must be (i)
  served by email on the Notice Parties set forth in paragraph 8 of the Objection Procedures and (ii) filed
  electrouically with the District Court pursuant to its Electronic Case Filing procedures. If the
  Participant is not represented by counsel, the Participant may file a paper copy of this Notice of
  Participation with the District Court by delivering such Notice of Participation by mail or by hand
  addressed to: The Clerk of the United States District Court for the District of Puerto, Room 150
  Federal Building, 150 Carlos Chardon avenue, San Juan, PR 00918-1767.
                     Case:17-03283-LTS Doc#:6174-1 Filed:04/10/19 Entered:04/10/19 16:08:31                           Desc:
                                     Pro Se Notices of Participation Page 133 of 142




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Law Office ofLiya Castles, LLC
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Case:17-03283-LTS Doc#:6174-1 Filed:04/10/19 Entered:04/10/19 16:08:31 Desc:
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                                  Participation Page 134 of 142           Desc:
                    Exhibit 3- Notice of Participation Paae 2 of 3
 ATHIS NOTICE MUST BE FILED AND SERVEt) ON OR ffEFORE [INSERT DATE
 THAT IS 60 DAYS AFTER ENTRY OF ORDER GRANTING PROCEDURES MOTION]

                                  UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF PUERTO RICO
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 In re:                                                                                                              <
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 THE FINANCIAL OVERSIGHT AND                                          PROMESA                                      ~'o


 MANAGEMENT BOARD FOR PUERTO RICO,                                    Title III
                                                                                                                  0-1


                                                                      Case No. 17-BK-3283 (LTS)
                                                                                                                  •~^»
                  as representative of

  THE COMMONWEALTH OF PUERTO RICO et al.,                             (Jointly Administered)

                  Debtors.



                    NOTICE OF PARTICIPATION IN OMNIBUS OBJECTION
                  TO CLAIMS FILED OR ASSERTED BV HOLDERS OF CERTAIN
                      COMMONWEALTH GENERAL OBLIGATION BONDS

         This Notice of Participation must be served and filed no later than [insert date that is 60
 days after entry of order granting Procedures Motion] in accordance with the instructions set forth
  at the end of this document.


         The party identified below ("Participant"^ hereby advises the Objectors that it intends to
 participate in the litigation of the Omnibus Objection of the Financial 0^'ersight and Management Board,
 Acting Through its Special Claims Committee, and the Official Committee ofUnsecured Creditors,
 Pursuant to Bankruptcy Code Section 502 and Bankmptcy Rule 3007, to Claims Filed or Asserted by
 Holders of Certain Commonwealth General Obligation Bonds, dated January 14, 20 19 [Docket No. 4784]
 (the "Obiection"\ which asserts that all claims that have been or may be asserted against the
 Commonwealth of Puerto Rico on account of general obligation bonds issued by the Commonwealth in or
 after 2012 (the "Challenged GO Bbnds") are invalid.

          To ensure full participation rights in the litigation of the Objection, Participant provides all of the
 information requested m items 1 through 3 below:


  1. Participant's contact information, mcluding email address, and that of its counsel, if any:


 Participant Name and Contact Information Counsel Contact Information (if any)

  LA.?^ ( \t^\^^
 Participant l^apie ~ Firm Name (if applicable)


 Contact Person (if Participant is not an individual) Contact Person
  L\z^ <^> cLA-^ru^SLyvv^ . COT^\
 Email Address Email Address
Case:17-03283-LTS Doc#:6174-1 Filed:04/10/19 Entered:04/10/19 16:08:31 Desc:
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                Pro Doc#:5143-3
                    Se Notices of Filed:02/l5/19 Entered:02/15/1914:28:10
                                  Participation Page 135 of 142           Desc:
                             Exhibit 3- Notice of Participation Paae 3 of 3
 A THIS NOTICE REQUIRES ACTION ON OR 6EFORE [INSERT DATE THAT IS 60
 DAYS FROM DATE OF ENTRY OF ORDER GRANTING PROCEDURES MOTION]*
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      U SA
 Country                                                        Country


         Participant advises that it (choose one of the following by marking "X" in the appropriate space):

                        intends to support the relief requested in the Objection (i.e.. Participant
             believes the Court should find that the Challenged GO Bonds are invalid): or

                  y     intends to oppose the relief requested in the Objection (i.e.. Participant
             believes that the Court should find that the Challenged GO Bonds are valid^;

         If Participant is not a holder of a Challenged GO Bond, it can skip to the end of this Notice and
         sign. If Participant is a holder of one or more Challenged GO Bonds, Participant must respond to
         the following paragraphs (a) and (b) to the best of Participant's knowledge.

             (a) Provide the CUSIP Numbers of all Challenged GO Bonds held by Participant:



             (b) Did Participant purchase any^ofits Challenged GO Bonds in whole or in part on the
                    secondary market? YES ortNCKYolease circle one).




     Print Name



     Title (if Participant is not an Individual)


        ^w^-
     Date

 Instructions for Serving and Filing Notice of Participation: This Notice of Participation must be (i)
 served by email on the Notice Parties set forth in paragraph 8 of the Objection Procedures and (ii) filed
 electronically with the District Court pursuant to its Electronic Case Filing procedures. If the
 Participant is not represented by counsel, the Participant may file a paper copy of this Notice of
 Participation with the District Court by delivering such Notice of Participation by mail or by hand
 addressed to: The Clerk of the United States District Court for the District of Puerto, Room 150
 Federal Building, 150 Carlos Chardon Avenue, San Juan, PR 00918-1767.
             Case:17-03283-LTS Doc#:6174-1 Filed:04/10/19 Entered:04/10/19 16:08:31            Desc:
                             Pro Se Notices of Participation Page 136 of 142




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  Case:17-03283-LTS Doc#:6174-1 Filed:04/10/19 Entered:04/10/19 16:08:31                                     Desc:
SRF 31030         Pro Se Notices of Participation Page 137 of 142
*THIS NOTICE MUST BE FILED AND SERVED ON OR BEFORE APRIL 16, 2019*


                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF PUERTO RICO

                                                            -X


In                          re:                         :


THE FINANCIAL OVERSIGHT AND                                         PROMESA
MANAGEMENT BOARD FOR PUERTO RICO,                                   Title III

                 as representative of                               Case No. 17-BK-3283 (I/TS).
                                                                                                       -LJ

THE COMMONWEALTH OF PUERTO RICO et aL,                              (Jointly Administered) : _' i r'


                 Debtors.
                                                            -x           •!            •          ^



                    NOTICE OF PARTICIPATION IN OMNIBUS OBJECTION ^:-
                 TO CLAIMS FILED OR ASSERTED BY HOLDERS OF CERTAIN
                     COMMONWEALTH GENERAL OBLIGATION BONDS

       This Notice of Participation must be served and filed no later than April 16,2019 in
accordance with the instructions set forth at the end of this document

        The party identified below ("Participant"') hereby advises the Objectors that it intends to
participate in the litigation of the Omnibus Objection of the Financial Oversight and Management Board,
Acting Through its Special Claims Committee, and the Official Committee qfUnsecured CredHors,
Pursuant to Bankruptcy Code Section 502 and Bankruptcy Rule 3007, to Claims Filed or Asserted by
Holders of Certain Commonwealth General Obligation Bonds, dated January 14, 2019 [Docket No. 4784]
(the "Objection"'), which asserts that all claims that have been or may be asserted against the
Commonwealth of Puerto Rico on account of general obligation bonds issued by the Commonwealth in or
after 2012 (the "Challenged GO Bonds") are invalid.

       To ensure full participation rights in the litigation of the Objection, Participant provides all of the
information requested in items 1 through 3 below:

1. Participant's contact information, including email address, and that of its counsel, if any:


Particmant Name and CQntactInformation Counsel Contact Information (if any)

                            ^s^_^
PahwqfantjName I * Firm Name (if applicable)


Contact Person (if Participant is not an individual) Contact Person


Email Address Email Address
Case:17-03283-LTS Doc#:6174-1 Filed:04/10/19 Entered:04/10/19 16:08:31                             Desc:
 SRF 31030      Pro Se Notices of Participation Page 138 of 142



 Address line I Address line 1


 Address line 2 Address line 2


 City, State Zip Code City, State Zip Code


 Country                                Country


 2, Participant advises that it (choose one of the following by marking "X" in the appropriate space);

                       intends to support the relief requested in the Objection (i.e., Participant
             believes the Court should find that the Challenged GO Bonds are invalid); or

               x        intends to oppose the relief requested in the Objection (i.e., Participant
             believes that the Court should find that the Challenged GO Bonds are valid)

 3, If Participant is not a holder of a Challenged GO Bond, it can skip to the end of this Notice and
          sign. If Participant is a holder of one or more Challenged GO Bonds, Participant must respond to
         the following paragraphs (a) and (b) to the best of Participant's knowledge.

             (a) Provide the CUSIP Numbers of all Challenged GO Bonds held by Participant:


                            r?\4L~Y)20
             (b) Did Participant pui'9tee^ny of its Challenged GO Bonds in whole or in part on the

                                         \^
                              market^ YES<[n-
                    secondary market^YES    ^r NO
                                                NO (please circle one).




                              Wb-—
    <3»< M<^
     Print Name



     Title (if Participant is not an Individual)


      MAAOl 2.^ ^o^
     Date

 Instructions for Serving and Filing Notice of Participation: This Notice of Participation must be (i)
 served by email on the Notice Parties set forth in paragraph 8 of the Objection Procedures and (ii) filed
 electronically with the District Court pursuant to its Blectronic Case Filing procedures. If the
 Participant is not represented by counsel, the Participant may file a paper copy of this Notice of
 Participation with the District Court by delivering such Notice of Participation by mail or by hand
 addressed to: The Clerk of the United States District Court for the District of Puerto, Room 150
 Federal Building, 150 Carlos Chardon Avenue, San Juan, PR 00918-1767.
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200 ParkAvenue, 2nd Floor
Florham Park, NJ 07932




                                                                The Clerk of the United States District Court
                                                                For the District of Puerto Rico
                                                                Room 150, Federal Building
                                                                150 Carlos Chardon Avenue
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Case:17-03283-LTS Doc#:6174-1 Filed:04/10/19 Entered:04/10/19 16:08:31                                Desc:
  SRF 31030     Pro Se Notices of Participation Page 140 of 142
  *THIS NOTICE MUST BE FILED AND SERVED ON OR BEFORE APRIL 16,2019*


                                  UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF PUERTO RICO

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  In                         re:                          :          '         -:''

                                                                                                        en

  THE FINANCIAL OVERSIGHT AND                                         PROMESA 'r.~- --

  MANAGEMENT BOARD FOR PUERTO RICO,                                   TvitleIII '-
                                                                                                         '^'


                  as representative of                                Case No. 17-BK-3283 (LTS)          \^1


  THE COMMONWEALTH OF PUERTO RICO et a/,                              (Jointly Administered)

                  Debtors.



                     NOTICE OF PARTICIPATION IN OMNIBUS OBJECTION
                  TO CLAIMS FILED OR ASSERTED BY HOLDERS OF CERTAIN
                      COMMONWEALTH GENERAL OBLIGATION BONDS

      .' • This Notice of Participation must be served and filed no later than April 16,2019 in
  accordance with the instructions set forth at the end oi' this document.

          The party identified below ('"Participant") hereby advises the Objectors tb^t it intends to
  participate in the litigation of the Omnibus Objection of the Financial Oversight and Management Board,
  Acting Through its Special Claims Committee^ and the Official Committee ofUnsecifred Creditors,
  Pursuant to Bankruptcy Code Section 502 and Banlo'nptcy Ride 3007, to Claims Filed or Asserted by
  Holders of Certain Commonwealth Genera! Obligation Bonds, dated January 14,2019 [Docket No, 4784]
  (the "Objection"'), which asserts that all claims that have been or may be asserted against the
  Commonwealth of Puerto Rico on account of* general obligation bonds issued by the Commonwealth in or
  after 2012 (the "Challenged GO Bonds") are invalid.

         To ensure full participation rights in the litigation of the Objection, Participant provides all of the
  information requested in items 1 through 3 below;

  ~T~~ Participant's contacTinTormation, including email address, and tIiafoHts" counsel, it any:


  P_articipantName and Contact Information Counsel Contact Information fit* aw}


                   ^^ev^on
  Partip^ant Name / " Firm Name (if applicable)


  Contact Person (if Participant is not an individual) Contact Person


  Email Address Email Address
Case:17-03283-LTS
 SRF 31030
                  Doc#:6174-1 Filed:04/10/19 Entered:04/10/19 16:08:31                                     Desc:
                Pro Se Notices of Participation Page 141 of 142


 Address line 1 Address line 1


 Address line 2 Address line 2


 City, State Zip Code City, State Zip Code


 Country                                    Countiy
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 2. Participant advises that it (choose one of the following by making "X" in the appropriate space);

                             intends to support the relief requested in the Objection (i.e., Participant
                believes the Court should find that the Challenged GO Bonds are invalid): or

                             intends to opnose the relief requested in the Objection (i.e., Participant
                believes that the Court should find that the Challenged GO Bonds are valid)

 3. If Participant is not a holder of a ChaUenged GO Bond, it can skip to the end of this Notice and
         '.sign. If Participant is a holder of one or more Challenged GO Bonds, Participant must respond to
          the following paragraphs (a) and (b) to the best of Participant's knowledge.

                (a) Provide the CUSIP Numbers of all Challenged bo Bonds held by Participant:

                        >mLH-~P20
                (b) Did Participant puiyfiasS^ny of its Challenged GO Bonds in whole or in part on the
                        secondary market?! YES'^i' NO (please circle one).
              C 'I .7;'" ^


 By:      c t>OMi,Z^' i—
                 -y'^ i/ y

       Signature - /' ^


           ^ Uft^^^o^
       Print Name 1;,



       Title (if Participant is not an Individual)

              ^ ->S - ! ^
       Date

 Instructions for Serving and Filing Notice of Participation: This Notice of Participation must be (i)
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 Federal Building, 150 CarSos Chardon Avenue, San Juan, PR 00918-1767.
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200 ParkAvenue, 2nd Floor
Florham Park, NJ 07932




                                                                       The Clerk of the United States District Court
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